        Case 4:06-cr-00135-BRW           Document 150        Filed 03/16/10       Page 1 of 1



                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


UNITED STATES OF AMERICA

         vs                           4:06CR00135-02-WRW

JONATHON CODY WOOD


                                AMENDED AND SUBSTITUTED
                               JUDGMENT AND COMMITMENT

         The above entitled cause came on for a hearing on the petitions to revoke the supervised

release granted this defendant. Upon the basis of the evidence presented, the Court found that the

defendant did violate certain conditions of his supervised release without just cause.

         IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release granted this

defendant be, and it is hereby, REVOKED.

         The defendant is sentenced to a period of 11 months at a designated Bureau of Prisons

correctional facility. The defendant is to participate in residential or nonresidential substance abuse

treatment during incarceration. The Court recommends the defendant be placed at the federal

correctional facility in Forrest City, Arkansas. The defendant is remanded into the custody of the

U.S. Marshal.

         There is no supervised release to follow incarceration.

         IT IS SO ORDERED this 16th day of March, 2010.




                                                     /s/Wm. R. Wilson, Jr.
                                               UNITED STATES DISTRICT JUDGE




supvrl.2.Wood.wpd
